            Case: 4:19-cr-00998-JAR Doc. #: 83 Filed: 06/17/21 Page: 1 of 8 PageID #: 292

                                       UNITED STATES DISTRICT COURT
                                                 EASTERN DI STRI CT OF MISSOURI

 UNITED STATES OF AMERICA                                                     §      JUDGMENT IN A CRIMINAL CASE
                                                                              §
 V.                                                                           §
                                                                              §      Case Number: 4:19-CR-00998-JAR(l)
 LAKISHA S. SMITH                                                             §      USM Number: 49727-044
                                                                              §      Susan Woods McGraugh
                                                                              §      Defendant's Attorney

THE DEFENDANT:
 ~     pleaded guilty to count(s)                                   2 and 5 ofa six-count Indictment on March ll, 2021.
       pleaded guilty to count(s) before a U.S. Magistrate
 •     Judge, which was accepted bv the court.
       pleaded nolo contendere to count(s) which was
 •     accepted by the court
 •     was found guilty on cou nt(s) after a plea of not guilty


The defendant is adjudicated g uil ty of these offenses:
 Title & Section / Nature of Offense                                                                        Offense Ended    Count
 26 U.S.C. § 7206(2) and 26 U.S.C. § 7206 A iding and Abetting in Fi ling Fal se Income Tax Returns         02/ 11 /20 16    2r
 26 U.S.C. § 7206(2) and 26 U.S.C. § 7206 Aiding and Abetti ng in Filing False Income Tax Returns           02/ 11 /20 16    5r




The defendant is sentenced as prov ided in pages 2 through 7 of this judgment. T he sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 D     The defendant has been found not guil ty on count(s)
 ~     Count(s) I, 3, 4, and 6      D is     ~ are dismi ssed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for thi s district within 30 days of any change of name,
residence, or mailing address until a ll fines, restitution, costs, and spec ial assessments imposed by this judgment are fully pai d. If
ordered to pay restitution, the defendant must notify th e court and United States attorney of materia l changes in economic
circumstances.


                                                                      June17 2021
                                                                       Date of Imposition of Judgment




                                                                      JO   A.ROSS
                                                                      UNITED STATES DISTRICT JUDGE
                                                                       Name and Ti tl e of Judge
                                                                                                                    -----------

                                                                       June 17,20~
                                                                       Date
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DEFENDANT:                 LAKISHA S. SMITH
CASE NUMBER:               4: l 9-CR-00998-JAR( I)

                                                         IMPRISONMENT

The defendant is hereby committed to the custody of th e United States Bureau of Prisons to be imprisoned for a total term of:

32 mo nths.

This term consists of a term of 32 months on each of counts two and live, all such terms to be served co ncurrently.

 0     The court makes the following recomm endation s to the Bureau of Pri sons:
        It is recommended the defendant be consiaered fo r placement in a BOP facility as close as possible to the St. Louis, MO area
        that has the Residential Drug Abuse Program available.
        While in the custody of the Bureau of Prisons, it is recommended the defendant be evaluated for participation in the
        Residential Drug Abuse Program and any available menta l hea lth treatment program . It is a lso recommended the defendant
        be evaluated for participation in an Occupational/Educational program in an area of her interest. Such recommendations are
        made to the extent they are consistent with the Bureau of Prisons policies.



 0     The defendant is remanded to the custody of the United States Marshal.
 D     The defendant shall surrender to the United States Marsha l for this district:


          D     at                                   •      a.m .     •      p.m.       on

          D     as notified by the United States Marshal.

 D     The defendant shall surrender for service of sentence at the in sti tution designated by the Bureau of Prisons:

          D     before 2 p.m. on
          D     as notified by the United States Marshal.
          D     as notified by the Probation or Pretri al Services Office.




                                   MARSHALS RETURN MADE ON SEPARATE PAGE
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DEFENDANT:                  LAKISHA S. SMIT H
CASE NUMBER:                4 : I 9-CR-00998-JAR( I)

                                                  SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised re lease for a term of: one (I) year.

This term consists of a term of one yea r on each of counts two and five, all s uch terms to run concurrently.


                                              MANDATORY CONDITIONS

 I.   You must not commit another fed eral , state or loca l crim e.
 2.   You must not unlawfully possess a controlled substan ce.
 3.   You must refrain from any unlawful use ofa contro ll ed substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            D     The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                  substance abuse. (chec if applicable) -
 4.   D     You must make restitution in accordance with 18 U. S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
            of restitution . (check if applicable)
 5.   IZ]   You must cooperate in the co ll ection of DNA as directed by the probation officer. (check      if applicable)
 6.   D     You must comply with the requirements of th e Sex Offender Registration and Notification Act (34 U.S.C. § 20901 , et
            seq.) as directed by the probation officer, th e Bureau of Pri sons, or any state sex offender registration agency in which
            you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.   D     You must participate in an approved program for domestic violence. (check      if applicable)

          You must comply with the standard condition s th at have been adopted by this court as well as with any additional
 conditions on the attached page.
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DEFENDANT:                  LAKJSHA S. SMITH
CASE NUMBER:                4: l 9-CR-00998-JAR( I)

                                STANDARD CONDITIONS OF SUPERVISION

As part of yo ur supervised release, you must comply with the fo llowing standard conditions of supervi sion . These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring abo ut improvements in yo ur conduct and condition.

I. You must report to the probation office in the federal judicial d istrict where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs yo u to report to a different probation office or within a different time
frame .
2. After initially reporting to the probation office, you wi ll receive in structions from the court or the probation officer about how and
when you must report to the probation officer, and yo u must report to the probation officer as instructed.
3. You must not knowing ly leave the federa l judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by yo ur probation officer.
5. You must live at a place approved by the probation officer. If yo u plan to change where you live or anything about your living
arrangements (such as the people yo u live with), yo u must noti fy the probation officer at least IO days before the change. If notifying
the probation officer in advance is not possible due to un anticipated circumstances, you must notify th e probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit yo u at any tim e at yo ur home or e lsewhere, and yo u must permit the probation officer
to take any items prohibited by th e conditions of your superv ision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. lfyou do not have full-time employment you must try to find full -time employment, unless the probation officer excuses
you from doing so. If you plan to change where yo u work or anything about your work (such as your position or your job
responsibilities), you must noti fy the probation officer at least IO days before the change. If notifying the probation officer at least l 0
days in advance is not poss ible due to unanticipated circumstances, yo u must notify the probation officer wi thin 72 hours of
becoming aware of a change or expected change.
8. You must not communicate or interact with someone yo u know is engaged in criminal activity. If you know someone has been
convicted of a felony, yo u must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, yo u must notify the probation officer within 72 hours.
 I 0. You must not own, possess, or have access to a firearm, ammunition , destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the spec ific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
 11. You must not act or make any agreement with a law enforcement agency to act as a confidential hum an source or informant
without first getting the permiss ion of the court.
 12. If the probation officer determines that you pose a risk to another person ( incl uding an organization), the probation officer may
require you to notify the person about the risk and you must comp ly with that instruction. The probation officer may contact the
person and confirm that you have notified the person abo ut the risk.
 13. You must follow the instructions of th e probation officer rel ated to the conditi ons of supervision .

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, avai lable at: www .uscourts.gov .

 Defendant's Signature                                                                               Date
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DEFENDANT:                 LAKJSHA S. SMITH
CASE NUMBER:               4: l 9-C R-00998-J AR( 1)

                                  SPECIAL CONDITIONS OF SUPERVISION
While on supervision, the defendant shall comply with the stan dard conditions th at have been adopted by thi s Court and shall comply
with the following additional conditions. If it is determined th ere are costs assoc iated with any services provided, the defendant shall
pay those costs based on a co-payment fee estab lished by the probation office.


You must submit to substance abuse testing to determin e if you have used a prohibited substance. You mu st not attempt to obstruct or
tamper with the testing methods.

You must participate in a substance abuse treatment program and fo llow the ru les and regul ations of that program. The probation
officer wi ll supervi se your participation in the program (prov ider, location, modality, duration , intensity, etc.).

You must partic ipate in a menta l health treatment p;ogram and fo llow the ru les and regulations of that program. The probation officer,
in consultation with the treatm ent provider, will supervise your part icipation in the program (provider, location , modality, duration ,
intensity, etc.).

You must submit your person, property, hou se, res idence, vehicle, papers, computers (as defined in 18 U.S.C. § 1030(e)(l )), other
electronic communications or data storage dev ices or med ia, or office, to a search conducted by a United States probation officer. You
must warn any other occupants that the premi ses may be subj ect to searches pursuant to this condition. The probation officer may
conduct a search under this condition only when reasonable suspic ion exists that you have violated a condition of supervision and that
the areas to be searched contain evidence of this vio lation.

You mu st provide the probation officer with access to any requested fin anc ial information and authorize the release of any fina ncial
information. The probation office may share financial information with the U.S. Attorney's Office.

You must not incur new credit charges, or open additiona l lines of credit wi thout the approval of the probation officer.

You must apply all monies rece ived from any anticipated and/or unexpected financial ga ins, includ ing any income tax refunds,
inheritances, or j udgments, to the outstanding Co u11-ordered financial obligation. You must immediately notify the probation office of
the receipt of any indicated monies.
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DEFENDANT:                      LAKJSHA S. SMITH
CASE NUMBER:                    4: 19-CR-00998-JAR( I)

                                           CRIMINAL MONETARY PENALTIES
         The defendant must a the total criminal moneta
                               Assessment                                               Fine        AV AA Assessment*       JVT A Assessment**
 TOTALS                             $200.00                                             $.00

 D     The determination of restitution is deferred until   An Amended Judgment in a Criminal Case (A0245C) wi ll be entered
       after such detennination.
 !ZI   The defendant must make restitution (includi ng community restitution) to the following payees in the amount listed below.

            If the defendant makes a partial payment, each payee shall receive an approx imately proportioned payment. However, pursuant to 18 U.S .C.
            § 3664(i), all nonfederal victims must be paid before the United States is paid.



In terna l Revenue Service -                 Attn: Mai l Stop 6261,                      $ 10,416
RACS                                         Restitution 333 West Pershing
                                             Avenue
                                             Kansas City, MO 64108

Payments of restitution shall be mad e to the Clerk of the Cou rt for transfer to th e v ictim. Restitution is due immediately, but if
the defendant is unable to pay the restitution in full immediately, then restitution shall be paid in monthly installments ofat
least $100, with payments to commence no later than 30 days of the commencement of supervision . The defendant shall notify
the United States Attorney for this district within 30 days of any change of mailing or residence address that occu rs while any
portion of the restitution remains unpaid.


 •      Restitution amount ordered pursuant to plea agreement$

 •      The defendant must pay interest on restitution and a fin e of more than $2,500, unless the restitution or fi ne is paid in full before
        the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on the schedule of
        payments page may be subject to penalties for delinquency and default, pursuant to 18 U.S .C. § 36 I2(g).
        The court determined that the defendant does not have the abi lity to pay interest and it is ordered that:
        IZI the interest requirement is waived for the               •
                                                                    fine                                restitution

        •       the interest requirement for the
                                                                     •     fine
                                                                                                         •     restitution is modified as fo llows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of20 18, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 20 15, Pub. L. No. I 14-22
*** Findings for the total amount of losses are required under Chapters I09A, 110, 11 0A, and 11 3A of Ti tle 18 for offenses committed on or after
September 13, 1994, but before ApriI 23, 1996.
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DEFENDANT:                     LAKISHA S. SMIT H
CASE NUMBER:                   4: 19-CR-00998-JAR( I)

                                                    SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      IZI   Lump sum payments of$ 10,616.00 due imm ediately, bal ance due

       •      not later than                                       , or

        IZ!   in accordance
                                            •       C,
                                                               •          D,
                                                                                   •       E, or               F below; or

 B      D     Payment to begin immediately (may be combined with                   D       C,
                                                                                                        •      D, or
                                                                                                                                   •       F below); or

 C      D     Payment in equal ______ (e.g., weekly, monthly, quarterly) installments of$ _ _ __ __ over a period of
              _______ (e.g., months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment;
              or

 D      D     Payment in equal 20 (e.g., weekly, monthly, quarterly) in stallments of$ _ _ _ _ _ over a period of
              _ _ _ _ ___ (e.g., months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after release from
              imprisonment to a term of supervision ; or

 E      D     Payment during the term of supervised release will comm ence within ______ (e. g. , 30 or 60 days) after release
              from imprisonment. The court will set the payment plan based on an assessment of the defendant' s ability to pay at that
              time; or

 F      IZ!   Special instructions regarding th e payment of criminal mon etary penalties:
              It is ordered that the Defendant shall pay to the United States a special assessment of $200.00 for Counts 2r and
              Sr, which shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court. SEE
              PAGE 6 OF THIS JUDGMENT REGARDING PAYMENTS OF RESTITUTION.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program , are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 D      Joint and Several
        See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
        Several Amount, and corresponding payee, if appropriate.

        D Defendant shall receive credit on her restitution obligation for recovery from other defendants who contributed to the same
        loss that gave rise to defendant's restitution obligation .
 D      The defendant shall pay the cost of prosecution.
 D      The defendant shall pay the followin g court cost(s):
 D      The defendant shall forfe it th e defendant's interest in the followin g property to the United States:




Payments shall be applied in the fo llowing order: ( I) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fin e principal, (6) fin e interest, (7) community restitution, (8) JVTA assess ment, (9) penalties, and ( 10) costs, includ ing cost of prosecution
and court costs.
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CASE NUMBER:         4: I9-C R-00998-J AR( I)
USM Number:          49727-044


                                  UNITED ST ATES MARSHAL
                           RETURN OF JUDGMENT IN A CRIMINAL CASE

I have executed this judgment as follows:

Date defendant was delivered with certified copy of this judgment: _ _ _ _ _ _ _ __


Name and location of facility :_ _ _ _ _ _ _ __ _ __ _ _ _ _ _ _ _ _ __



D Defendant was sentenced to Time Served and was released on:- - - - - - - - - -

D Defendant was sentenced to _ _ _ months/years of Probation and was released on: _ _ _ _ _ __ _

D Defendant was sentenced to _ _ _ months/years of Supervised Release and was released on:_ _ _ __




NAME OF US MARSHAL/WARDEN




By: NAME OF DEPUTY US MARSHAL/CSO
